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                                                                          United States District Court
                                                                            Southern District of Texas

                                                                               ENTERED
                                                                             August 21, 2023
                       UNITED STATES DISTRICT COURT
                                                                            Nathan Ochsner, Clerk
                        SOUTHERN DISTRICT OF TEXAS
                             HOUSTON DIVISION


HSL Filly Shipping Limited, et al.,        §
                                           §
         Plaintiffs,                       §
                                           §
vs.                                        §             CIVIL NO. 4:22-CV-00066
                                           §
Vopak Terminal - Deer Park, Inc.,          §
                                           §
         Defendant.                        §

                                      ORDER


       A Pretrial Conference shall take place before:
                              Judge Dena Hanovice Palermo
                       Thursday, September 7, 2023, at 10:00 am
                                          by video
       Each party must appear by an attorney with (a) full knowledge of the facts and
(b) authority to bind the client. Counsel are to consult among themselves well in
advance and exchange relevant documents in the case.
       The Court will consider any motions, narrow issues, inquire about expected
motions, and schedule discovery.
       Parties will receive a zoom link by email. Persons granted remote access to
proceedings are reminded of the general prohibition against photographing,
recording, or rebroadcasting of federal court proceedings (including those held by
telephone or videoconference). Recording of a federal court proceeding held by
video or teleconference is strictly prohibited. Violation of these rules may result in

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the denial of entry to future hearings or any other sanction deemed necessary by
the Court.
       Signed on August 21, 2023, at Houston, Texas.


                                                ___________________________
                                                Dena Hanovice Palermo
                                                United States Magistrate Judge




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